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                                       Mary Basile Logan




December 6, 2020

Sent Via Fax                                                       Sent Via Email
Phillip Kline, Esq.                                                The Honorable Ted Cruz
c/o Liberty University School of Law                               Washington, D.C. Office

Sent Via Email
Maria Bartiromo, Fox News

Sent Via Email
Mark Levin, Esq.
c/o Westwood One

Sent Via Email
Jenna Ellis, Esq.

       RE:     Center for Technology and Civic Life
               Center for Election Innovation and Research

Dear Messrs and Mses:

        This letter and associated sourced documents attached concern the analysis of the Center
for Tech and Civic Life (CTCL), the Center for Election Innovation and Research (CEIR), as
well associate entities regarding their actions taken during the 2020 election cycle.

       During the 2020 election cycle, I was intimately involved in the election process both as a
municipal candidate as well as canvasser for candidates at the State and Federal level. This
experience brought about a first-hand knowledge and insights into the reason for this letter as
outlined below. I am a Paralegal/Analyst with Trino Paralegal Services, LLC with credentials
including a Bachelor’s in criminal justice, minor in Strategic Intelligence and a Master’s in
Public Policy.

        The initial analysis query focused on Mark Zuckerberg and his wife, Priscilla Chan, $350
million donation to The Center for Tech and Civic Life (CTCL) and $50 million for The Center
for Election Innovation and Research (CEIR). Fundamentally, the provision of these funds
would be commingled with public funds clearly creating entanglement, however a more
insidious vulnerability becomes apparent through undisclosed fund source donor capacity. In
such cases, recipients may be subject to directives of use of said funds, up to and including
undue influence on final outcome of funding necessity – in this case Constitutional protections of
the Legislative, Executive and body of the taxpaying public – We the People and the public trust.



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        Under the guise of non-profit status, in the company of associate entities, as disclosed
herein, the CTCL circumvented Constitutional bodies in the usurpation of the most sacred
protected and informed right of the American people; the voice of the people as transcribed in
their private voting freedom.

        This fact-sourced analysis includes grant solicitation by the CTCL, acceptance and
directives in application of funding, and post-Administration reporting. Layering the constraint
on 1st Amendment rights by Facebook in the selective use of Section 230 as concerns
contextually and self-informed public disclosure constraint regarding COVID-19, seemingly in
the interest of public health and safety. The facts disclose that the collective actions were
knowingly orchestrated as part of a larger scheme echoed among sworn Affidavit testimony of
principled election volunteers in the states of Pennsylvania, Arizona, Georgia and Michigan.
With CTCL grant funding provided across the United States, such schemes may have broader
implications not yet having surfaced.

       Moreover, Facebook, Google and Twitter have continued their usurpation of the 1st
Amendment with evidenced imposition on the post-election, Constitutionally informed, legal
remedy examination with the composed interdiction of the Legislative voice, including that of
Senator Douglas Mastriano (PA-33), among others.

        In the midst of an unprecedented pandemic gravely impacting the United States and,
more broadly, the world, the 2020 primary and general election timelines, venue and casting of
votes were altered under the auspices and interests of public health (National Association of
State Elected Directors, 2020). Apart from the Constitutional legitimacy of such changes,
Facebook’s founder and President, Mark Zuckerberg, et al. donated $250 million to the CTCL on
September 1, 2020, as provided by joint press release (Center for Tech and Civic Life, 2020).
On October 13, 2020, Chan and Zuckerberg donated an additional $100 million to the CTCL,
citing the “unprecedented demand for support from local election jurisdictions across the
country” (Center for Tech and Civic Life, 2020). The CTCL’s press statements evidence broadly
disseminated recipient funding (Center for Tech and Civic Life, 2020) across these United States
absent disclosure of principle funding source.

        Based on the foregoing sourced facts concerning private funding permeation into our
most sacred of foundational tenons, that being the Constitution, 14th Amendment, Section 1.
These facts are made more imperative for immediate policy redress when considering the
knowing actions taken by members of the Federal and State Legislative bodies, Governors and
paid designees to aid in the aforementioned permeation; in essence these parties collaborated
affixing a fiscal environment which allowed for the CTCL to become the premier firefighter in a
nationwide arena of immediate and untenable election changes (National Association of State
Elected Directors, 2020).




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        Due to limited time constraints and staffing, the author presented the findings herein to
parties entrusted with journalistic integrity, advanced legal scholar and public policy
advancement. Left to resolve itself, the enclosed facts may not otherwise surface, may be
ignored or in worst case scenario, be repeated including the pending January 5, 2021 Georgia
election.

       Additional areas of research demand examination including thorough analysis of
individual Governor actions through Executive Order in and during the COVID-19 pandemic
concerning the CARES Act federal funding appropriations as well the State directed alterations
made to the election process under COVID-19 Emergency Response. Theory from initial
analysis suggests that Governors may have knowingly held funds from local appropriation,
including any and all additional funds available during the election cycle while acting as a
conduit in disseminating information regarding the CTCL grant application process; opening
pandora’s box to the election outcome with its myriad of irregularities which has resulted,
knowingly causing voter disenfranchisement and inserting divisiveness in and among the three
branches of government. If this theory holds true under examination, there is direct culpability
between identified Governors and/or Legislators, providing for CTCL in causation and access.

        In furtherance of the author’s query, a telephonic interview with Hunterdon County
Board of Election’s Beth Thompson and email communications with Hunterdon County Clerk,
Mary Melfi took place. Neither the Hunterdon County Board of Election or the County Clerk’s
Office received specific guidelines and/or suggestions for equipment procurement. The Deputy
City Commissioner, Philadelphia also received CTCL grant funds, however the disclosed CTCL
communication directed to Nick Custodio, Deputy City Commissioner, Philadelphia, were
appreciatively more extensive.

        Expanding on the pleading filed by the Amistad Project – Thomas More Society which
cited, “…CTCL funded ballot boxes that disproportionately benefitted Democrats”
(WisPolitics.com, 2020), additional areas of legal query seem to demand analysis. As to the
Philadelphia CTCL grant funding, the author refers to page 24, email communications received
by Exhibit from The Amistad Project’s court pleading which provides (attached hereto),

       Note: We have a network of current and former election administrators and election
       experts available to provide assistance (at no cost) on communications ;scaling up your
       vote by mail processes; poll worker recruitment and training in a pandemic; applying
       public health guidelines to polling places; designing election materials to ensure forms,
       envelopes, and other materials are understood and completed correctly by voters; and
       more…Technical Assistance Partners…I know that you all have already been working
       with a couple of these partner organizations, so we can spend most of the time focused on
       how we can best support you in the coming months rather than on intros…




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        The experiences of Hunterdon County in contrast to Philadelphia were in content,
guidelines and/or suggestions for procurement; therefore, an audit of CTCL recipient grants
more broadly must be undertaken by time constrained subpoena. Initial research provides that
the CTCL may have knowingly directed Philadelphia in the procurement of certain equipment
for use during the 2020 election cycle as well in furthering the CTCL and affiliate entities into
the heart of the election process.

       Moreover, by providing directive in how the grant funds were to be used, extending to
and including the specific equipment procurement, CTCL becomes a party to culpability for data
breaches through Dominion, Smartmatic, ES&S, Hart, etc. But for the CTCL directive to
purchase including funding allocation, access to voter ballots and any resulting misuse,
manipulation and/or fraudulent handling would have otherwise been avoided with the Board of
Election bodies maintaining original and legally described chain of custody.

        Lastly, through sworn Affidavit, many American citizens observed election volunteers
intimately involved in the election process who were designees of certain non-profit entities
including Rock the Vote, the ACLU, among others. Based on the analysis herein, such
organizations share affiliation in principled foundational tenons and, from the CTCL website,
referred to as “key funders and partners” (Center for Tech and Civic Life, 2020). These entities
are the same as referred to in the Philadelphia grant directive email communication from CTCL
as already being in communication with or accessible to representatives of Philadelphia through
the CTCL conduit grant relationship, referred to on page 3, herein.

       Such entities include but are not limited to Google, Center for Democracy and
Technology, Rock the Vote, The Voting Project, Women Donors Network, Rockefeller Brothers
Fund, the Knight Foundation, the Democracy Fund, Pew Charitable Trusts, IBM, Democracy
Works, the New Organizing Institute – Wellstone and RePower Fund, and the Skoll Foundation.
The foregoing entities share parallel tenons to the CTCL including donor capacity with
“collaboration…in CTCL’s organizational DNA…” (The Center for Tech and Civic Life, 2020).

        A thorough analysis of the holistic 2020 election configuration discloses that the
proverbial firefighter (CTCL), may have been a trojan horse/arsonist, intent on employing the
manufactured crisis as a means of imposing itself and its associate entities on both the
Constitutional principles of our Founding as well the resulting election outcome fraught with
allegations of malfeasance. The Constitutionally informed right to vote is among the most
sacred held in these United States – from all accounts it has been compromised with malice. The
Constitutional protections of this right are paramount in ensuring public engagement and
discourse. Accordingly, the author respectfully asks timely review and courtesy in reply.




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        The author seeks to thank the Hunterdon County Clerk, Mary Melfi and Board of
Election Administrator, Beth Thompson; their stellar reputations and consistency in upholding
Constitutional principles provided an informed comparison as to the undertaking of this analysis
project.

       Thank you for your time in review of this submission. I have included my contact
information should you have reason or need to dialogue. The integrity of our Constitutionally
informed Republic in perpetuity will be impacted by the choice to confirm or dispel the analysis
described herein when considered in combination with the extensive body of allegations
regarding the 2020 election cycle. I pray the body of query is fruitful in supplanting legal
remedy reasonable in measure in assuring the protection of our Nation as we know it.

To God and County.

/s/ Mary B. Logan
Mary Basile Logan, M.P.P.


Attachments:

   1. Philadelphia CTCL Grant (Amistad Project Exhibit), externally obtained.
   2. Email Communication from Robert Giles, Director Division of Elections, NJ Department
      of State to Beth Thompson, Hunterdon County Board of Elections Administrator.
   3. CTCL Grant Confirmation letter to the Hunterdon County Clerk, Mary Melfi.
   4. CTCL Grant Confirmation letter to the Hunterdon County Board of Elections
      Administrator, Beth Thompson.




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ƌĞƐŽůƵƚŝŽŶͿ ϮϮͲϲϬϬϮϰϴϭ     Ψϭ͕ϰϰϯ͕ϲϴϱ       ;Ψϭ͕ϬϲϱͿ      Ψϭ͕ϰϰϰ͕ϳϱϬ͘ϬϬ    Ϯ      ϮϬϮϬͲϲϴϲ          Ψϭ͕ϭϯϲ͕ϬϬϬ͘ϬϬ     ϭϬͬϭͬϮϬϮϬ
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;EŽƚĞ͗
ƵĚŐĞƚŚĂƐϮϮϮͲϲϬϬϮϰϴϴ      Ψϯϲ͕Ϭϰϯ        ;Ψϯϲ͕ϬϰϯͿ       ΨϳϮ͕Ϭϴϱ͘ϱϬ     Ϯ       ϯϵϵͲϮϬ               Ψϯϲ͕ϬϰϮ͘ϳϱ   ϭϬͬϭϰͬϮϬϮϬ
dŽƚĂůƐ                ΨϮϭ͕ϯϰϬ͕Ϯϳϲ͘ϬϬ   ;Ψϴϭϴ͕ϴϳϯ͘ϭϱͿ   ΨϮϮ͕ϭϱϵ͕ϭϰϵ͘ϭϱ   ϯϱ                      ΨϮϬ͕ϰϳϭ͕ϵϯϳ͘ϳϳ




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  EŽƚĞ
  ŵŽƵŶƚƐŝŶd>ŽůŵĂƉďĂĐŬƚŽd>ZĞǀĞŶƵĞďǇŽƵŶƚǇdĂď
  ŵŽƵŶƚƐŝŶZ^ŽůŵĂƉďĂĐŬƚŽĂƌĞƐĐƚůĞĐƚŝŽŶZĞůĂƚĞĚdĂď
  ŵŽƵŶƚƐŝŶ,sŽůŵĂƉďĂĐŬƚŽ,sͲZ^^ƉĞĐŝĨŝĐdĂď
  ŵŽƵŶƚƐŝŶE:K^Ͳ>ŽĐĂůͲKƚŚĞƌŽůŵĂƉďĂĐŬƚŽE:K^Ͳ>ŽĐĂůͲKƚŚĞƌƚĂď

                                                                     ϮϬϮϬůĞĐƚŝŽŶZĞůĂƚĞĚ'ƌĂŶƚƐ
                                      d>           Z^                ,sͬZ         E:K^Ͳ>ŽĐĂůͲKƚŚĞƌ    dŽƚĂů
  ƚůĂŶƚŝĐ                            Ψϱϱϯ͕ϯϲϱ͘ϬϬ                               Ψϱϴϵ͕ϰϱϯ͘ϲϴ       ΨϳϮϰ͕ϭϬϴ͘ϱϴ      Ψϭ͕ϴϲϲ͕ϵϮϳ͘Ϯϲ
  ĞƌŐĞŶ                            ΨϮ͕ϲϳϱ͕ϵϴϯ͘ϬϬ    Ψϱ͕Ϯϳϱ͕ϬϬϬ͘ϬϬ                                                 Ψϳ͕ϵϱϬ͕ϵϴϯ͘ϬϬ
  ƵƌůŝŶŐƚŽŶ                        ΨϮ͕ϵϯϵ͕ϯϭϴ͘ϵϳ                                                                  ΨϮ͕ϵϯϵ͕ϯϭϴ͘ϵϳ
  ĂŵĚĞŶ                            ΨϮ͕ϰϭϱ͕ϲϰϱ͘ϰϯ                                                                  ΨϮ͕ϰϭϱ͕ϲϰϱ͘ϰϯ
  ĂƉĞDĂǇ                             Ψϳϵ͕ϴϴϰ͘ϬϬ      Ψϴϲϰ͕ϭϭϵ͘ϳϲ                                                   Ψϵϰϰ͕ϬϬϯ͘ϳϲ
  ƵŵďĞƌůĂŶĚ                          Ψϵϲϵ͕ϯϬϳ͘ϱϬ      ΨϰϰϬ͕ϰϴϳ͘ϵϭ                                ΨϮϰϰ͕ϬϬϬ͘ϬϬ      Ψϭ͕ϲϱϯ͕ϳϵϱ͘ϰϭ
  ƐƐĞǆ                             ΨϮ͕ϵϰϰ͕ϴϬϯ͘ϬϬ                                                                  ΨϮ͕ϵϰϰ͕ϴϬϯ͘ϬϬ
  'ůŽƵĐĞƐƚĞƌ                          ΨϮϲϳ͕ϴϮϳ͘ϬϬ                                                                    ΨϮϲϳ͕ϴϮϳ͘ϬϬ
  ,ƵĚƐŽŶ                              Ψϲϴϴ͕ϲϱϲ͘ϵϵ                                                                    Ψϲϴϴ͕ϲϱϲ͘ϵϵ
  ,ƵŶƚĞƌĚŽŶ                            Ψϴϯ͕Ϭϭϭ͘Ϯϱ                                                                     Ψϴϯ͕Ϭϭϭ͘Ϯϱ
  DĞƌĐĞƌ                            Ψϭ͕ϬϬϯ͕ϲϬϬ͘ϬϬ                                                                  Ψϭ͕ϬϬϯ͕ϲϬϬ͘ϬϬ
  DŝĚĚůĞƐĞǆ                          Ψϵϱϵ͕ϴϲϬ͘ϬϬ                                                                    Ψϵϱϵ͕ϴϲϬ͘ϬϬ
  DŽŶŵŽƵƚŚ                            Ψϱϱϳ͕ϭϮϯ͘ϴϴ                            Ψϭ͕Ϯϲϵ͕ϵϴϮ͘Ϯϴ                         Ψϭ͕ϴϮϳ͕ϭϬϲ͘ϭϲ
  DŽƌƌŝƐ                              Ψϯϲϵ͕ϵϯϬ͘ϳϱ    ΨϮ͕ϵϭϱ͕Ϭϯϯ͘ϬϬ           ΨϮ͕ϰϬϵ͕ϲϰϲ͘ϱϲ                         Ψϱ͕ϲϵϰ͕ϲϭϬ͘ϯϭ
  KĐĞĂŶ                               ΨϰϱϬ͕ϰϬϰ͘ϬϬ                                                                    ΨϰϱϬ͕ϰϬϰ͘ϬϬ
  WĂƐƐĂŝĐ                           Ψϯ͕ϮϬϯ͕ϱϬϬ͘ϬϬ      ΨϴϮϲ͕ϮϭϬ͘ϬϬ                                                 Ψϰ͕ϬϮϵ͕ϳϭϬ͘ϬϬ
  ^ĂůĞŵ                                Ψϲϳ͕ϲϴϯ͘ϬϬ                                                                     Ψϲϳ͕ϲϴϯ͘ϬϬ
  ^ŽŵĞƌƐĞƚ                            ΨϮϵϲ͕ϯϴϰ͘ϬϬ                                                                    ΨϮϵϲ͕ϯϴϰ͘ϬϬ
  ^ƵƐƐĞǆ                              Ψϭϭϲ͕ϬϮϱ͘ϬϬ                             ΨϮϬϭ͕ϲϰϱ͘ϵϳ                            Ψϯϭϳ͕ϲϳϬ͘ϵϳ
  hŶŝŽŶ                             Ψϭ͕ϰϰϰ͕ϳϱϬ͘ϬϬ                            Ψϭ͕Ϭϳϴ͕ϬϯϮ͘ϱϭ                         ΨϮ͕ϱϮϮ͕ϳϴϮ͘ϱϭ
  tĂƌƌĞŶ                               ΨϳϮ͕Ϭϴϱ͘ϱϬ                                                                     ΨϳϮ͕Ϭϴϱ͘ϱϬ
  dŽƚĂů   ΨϮϮ͕ϭϱϵ͕ϭϰϴ͘Ϯϳ   ΨϭϬ͕ϯϮϬ͕ϴϱϬ͘ϲϳ           Ψϱ͕ϱϰϴ͕ϳϲϭ͘ϬϬ        Ψϵϲϴ͕ϭϬϴ͘ϱϴ     Ψϯϴ͕ϵϵϲ͕ϴϲϴ͘ϱϮ




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                                        2019,2020, 2021 & 2022 Total Election Related Revenues/Awards (Realized and Anticipated)
                              CTCL            CARES          HAVA/CARES                 OTHER                  Total
                         $22,159,149.21 $12,652,558.10       $12,547,862.15            $69,592,897.96    $116,621,253.53
                                  $0.00            $0.00               $0.00             $7,855,439.22       $7,855,439.22
                                  $0.00    $1,262,102.00      $6,085,382.12            $47,688,268.46      $55,035,752.58
                         $22,159,149.21 $11,390,456.10        $5,846,641.57              $7,645,640.22     $46,951,312.21
                                  $0.00            $0.00        $615,838.46              $6,403,550.06       $6,778,749.52




                  2019,2020, 2021 & 2022 Election Related Revenues/Awards (Realized and Anticipated)



County     Year               CTCL            CARES           HAVA/CARES               OTHER                   Total
Atlantic                    $553,365.00           $0.00         $661,250.43              $867,735.42         $2,082,350.85
Atlantic                          $0.00           $0.00               $0.00                    $0.00                 $0.00
Atlantic                          $0.00           $0.00               $0.00                $8,163.80             $8,163.80
Atlantic                    $553,365.00           $0.00         $589,453.68              $845,703.58         $1,988,522.26
Atlantic                          $0.00           $0.00          $71,796.75               $13,868.04            $85,664.79

Atlantic   2022                                                                                                       $0.00

Atlantic   2021                                                                             $8,163.80            $8,163.80

Atlantic   2020                                                                           $724,108.58          $724,108.58
Atlantic   2020           $553,365.00                                                                          $553,365.00
Atlantic   2020                                                 $589,453.68                                    $589,453.68
Atlantic   2020                                                                           $121,595.00          $121,595.00
Atlantic   2019                                                   $24,190.65                                    $24,190.65
Atlantic   2019                                                   $32,574.10                                    $32,574.10
Atlantic   2019                                                   $10,492.00                                    $10,492.00
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County     Year         CTCL            CARES        HAVA/CARES      OTHER               Total
Atlantic   2019                                          $4,540.00                         $4,540.00
Atlantic   2019                                                          $4,599.30         $4,599.30

Atlantic   2019                                                           $9,268.74         $9,268.74
Bergen               $2,675,983.94   $6,453,489.00           $0.00   $9,881,337.11    $19,010,810.05
Bergen                       $0.00           $0.00           $0.00    $970,000.00       $970,000.00
Bergen                       $0.00   $1,178,489.00           $0.00   $5,806,389.11     $6,984,878.11
Bergen               $2,675,983.94   $5,275,000.00           $0.00   $2,194,049.00    $10,145,032.94
Bergen                       $0.00           $0.00           $0.00    $910,899.00       $910,899.00
Bergen     2022                                                        $970,000.00       $970,000.00
Bergen     2021                      $1,178,489.00                                     $1,178,489.00
Bergen     2021                                                       $4,827,089.21    $4,827,089.21

Bergen     2021                                                        $979,299.90       $979,299.90

Bergen     2020      $2,675,983.94                                                     $2,675,983.94
Bergen     2020                      $3,475,000.00                                     $3,475,000.00

Bergen     2020                      $1,800,000.00                                     $1,800,000.00
Bergen     2020
Bergen     2020

Bergen     2020
Bergen     2020



Bergen     2020                                                       $1,600,000.00    $1,600,000.00
Bergen     2020                                                        $594,049.00       $594,049.00
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County       Year         CTCL         CARES       HAVA/CARES          OTHER             Total
Bergen       2019

Bergen       2019                                                        $910,899.00     $910,899.00
Burlington             $2,939,318.97       $0.00           $0.00       $1,219,055.58   $4,158,374.55
Burlington                     $0.00       $0.00           $0.00        $328,000.00     $328,000.00
Burlington                     $0.00       $0.00           $0.00        $328,306.95     $328,306.95
Burlington             $2,939,318.97       $0.00           $0.00        $173,076.32    $3,112,395.29
Burlington                     $0.00       $0.00           $0.00        $389,672.31     $389,672.31
Burlington   2022                                                        $328,000.00     $328,000.00
Burlington   2021                                                        $328,306.95     $328,306.95
Burlington   2020       2,939,318.97                                                   $2,939,318.97

Burlington   2020

Burlington   2020
Burlington   2020                                                        $173,076.32     $173,076.32
Burlington   2019                                                        $389,672.31     $389,672.31
Camden                 $2,415,645.43       $0.00           $0.00       $4,357,324.83   $6,772,970.26
Camden                         $0.00       $0.00           $0.00       $2,451,460.00   $2,451,460.00
Camden                         $0.00       $0.00           $0.00               $0.00           $0.00
Camden                 $2,415,645.43       $0.00           $0.00       $1,579,096.41   $3,994,741.84
Camden                         $0.00       $0.00           $0.00        $326,768.42     $326,768.42
Camden       2022                                                      $2,451,460.00   $2,451,460.00

Camden       2021                                                                                $0.00



Camden       2020       $203,128.75                                                      $203,128.75
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County     Year         CTCL          CARES        HAVA/CARES        OTHER             Total

Camden     2020      $2,212,516.68                                                   $2,212,516.68

Camden     2020                                                                                $0.00

Camden     2020                                                                                $0.00

Camden     2020                                                                                $0.00


Camden     2020                                                                                $0.00
Camden     2020                                                                                $0.00
Camden     2020                                                                                $0.00

Camden     2020                                                      $1,579,096.41   $1,579,096.41
Camden     2019                                                        $326,768.42    $326,768.42
Cape May               $79,884.00    $864,119.76           $0.00          $668.49     $944,672.25
Cape May                    $0.00          $0.00           $0.00             $0.00           $0.00
Cape May                    $0.00          $0.00           $0.00             $0.00           $0.00
Cape May               $79,884.00    $864,119.76           $0.00           $668.49     $944,672.25
Cape May                    $0.00          $0.00           $0.00             $0.00           $0.00

Cape May   2022                                                                                $0.00
Cape May   2021                                                                                $0.00
Cape May   2021                                                                                $0.00
Cape May   2021                                                                                $0.00

Cape May   2020                      $360,596.99                                       $360,596.99

Cape May   2020                      $503,522.77                                       $503,522.77

Cape May   2020        $39,942.00                                                       $39,942.00

Cape May   2020        $39,942.00                                                       $39,942.00
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County       Year         CTCL          CARES        HAVA/CARES        OTHER               Total

Cape May     2020                                                              $668.49         $668.49
Cape May     2019                                                                                 $0.00
Cumberland              $969,307.50    $440,487.91           $0.00     $2,084,742.73     $3,494,538.14
Cumberland                    $0.00          $0.00           $0.00      $340,000.00       $340,000.00
Cumberland                    $0.00          $0.00           $0.00      $342,479.99       $342,479.99
Cumberland              $969,307.50    $440,487.91           $0.00      $202,262.74      $1,612,058.15
Cumberland                    $0.00          $0.00           $0.00     $1,200,000.00     $1,200,000.00

Cumberland   2022                                                        $340,000.00       $340,000.00

Cumberland   2021                                                        $342,479.99       $342,479.99

Cumberland   2020                                                        $202,262.74       $202,262.74

Cumberland   2020       $484,653.75                                                        $484,653.75

Cumberland   2020       $484,653.75                                                        $484,653.75

Cumberland   2020                      $440,487.91                                         $440,487.91

Cumberland   2019                                                       $1,200,000.00     $1,200,000.00
Essex                  $2,944,803.00         $0.00   $3,907,053.00     $2,627,072.77     $9,478,928.77
Essex                          $0.00         $0.00           $0.00             $0.00             $0.00
Essex                          $0.00         $0.00   $3,907,053.00     $2,589,442.50     $6,496,495.50
Essex                  $2,944,803.00         $0.00           $0.00             $0.00     $2,944,803.00
Essex                          $0.00         $0.00           $0.00        $37,630.27        $37,630.27
Essex        2022                                                                                 $0.00

Essex        2021                                                        2,589,442.50    $2,589,442.50
Essex        2021                                    $3,907,053.00                       $3,907,053.00

Essex        2020      $2,944,803.00                                                     $2,944,803.00
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County       Year         CTCL         CARES       HAVA/CARES          OTHER               Total
Essex        2019                                                           $37,630.27       $37,630.27
Gloucester              $267,827.00        $0.00      $50,842.00        $3,318,672.73    $3,637,341.73
Gloucester                    $0.00        $0.00           $0.00         $314,250.00      $314,250.00
Gloucester                    $0.00        $0.00           $0.00        $2,314,250.00    $2,314,250.00
Gloucester              $267,827.00        $0.00           $0.00         $471,047.73      $738,874.73

Gloucester                    $0.00        $0.00      $50,842.00         $219,125.00      $269,967.00

Gloucester   2022                                                         $314,250.00      $314,250.00
Gloucester   2021                                                       $2,000,000.00    $2,000,000.00

Gloucester   2021                                                         $314,250.00      $314,250.00

Gloucester   2020       $153,044.00                                                        $153,044.00

Gloucester   2020       $114,783.00                                                        $114,783.00
Gloucester   2020                                                         $471,047.73      $471,047.73


Gloucester   2020
Gloucester   2020
Gloucester   2020



Gloucester   2020
Gloucester   2019                                     $50,842.00                            $50,842.00

Gloucester   2019                                                         $219,125.00      $219,125.00
Hudson                  $688,656.99        $0.00           $0.00         $942,006.41     $1,630,663.40
Hudson                        $0.00        $0.00           $0.00               $0.00             $0.00
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County      Year         CTCL         CARES       HAVA/CARES          OTHER              Total
Hudson                       $0.00        $0.00          $0.00                $0.00            $0.00
Hudson                 $688,656.99        $0.00          $0.00          $507,631.01    $1,196,288.00
Hudson                       $0.00        $0.00          $0.00          $434,375.40     $434,375.40
Hudson      2022                                                                                $0.00
Hudson      2021                                                                                $0.00
Hudson      2020                                                        $507,631.01      $507,631.01
Hudson      2020        $688,656.99                                                      $688,656.99

Hudson      2019                                                        $434,375.40      $434,375.40
Hunterdon               $83,011.25        $0.00      $70,000.00       $2,034,166.00    $2,187,177.25
Hunterdon                    $0.00        $0.00           $0.00               $0.00            $0.00
Hunterdon                    $0.00        $0.00           $0.00       $1,950,000.00    $1,950,000.00
Hunterdon               $83,011.25        $0.00           $0.00               $0.00       $83,011.25
Hunterdon                    $0.00        $0.00      $70,000.00          $84,166.00     $154,166.00
Hunterdon   2022                                                                                $0.00
Hunterdon   2021                                                         $450,000.00     $450,000.00
Hunterdon   2021                                                       $1,500,000.00   $1,500,000.00
Hunterdon   2020         $47,435.00                                                       $47,435.00
Hunterdon   2020         $35,576.25                                                       $35,576.25
Hunterdon   2019                                                         $50,821.00       $50,821.00

Hunterdon   2019                                                          $2,845.00        $2,845.00

Hunterdon   2019                                                         $30,500.00       $30,500.00


Hunterdon   2019                                     $70,000.00                            $70,000.00
Mercer                $1,003,600.00       $0.00           $0.00         $443,638.00    $1,447,238.00
Mercer                       $0.00        $0.00           $0.00               $0.00              $0.00
Mercer                       $0.00        $0.00           $0.00               $0.00              $0.00
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County      Year         CTCL         CARES       HAVA/CARES          OTHER              Total
Mercer                $1,003,600.00       $0.00           $0.00         $221,593.00    $1,225,193.00
Mercer                        $0.00       $0.00           $0.00         $222,045.00     $222,045.00
Mercer      2022                                                                                $0.00
Mercer      2021                                                                                $0.00
Mercer      2020                                                        $220,567.00      $220,567.00
Mercer      2020                                                          $1,026.00        $1,026.00
Mercer      2020      $1,003,600.00                                                    $1,003,600.00
Mercer      2019                                                          $1,478.00        $1,478.00
Mercer      2019                                                        $220,567.00      $220,567.00
Middlesex              $959,860.00        $0.00           $0.00       $2,145,577.00    $3,105,437.00
Middlesex                    $0.00        $0.00           $0.00        $600,000.00      $600,000.00
Middlesex                    $0.00        $0.00           $0.00        $696,565.00      $696,565.00
Middlesex              $959,860.00        $0.00           $0.00        $281,976.00     $1,241,836.00
Middlesex                    $0.00        $0.00           $0.00        $567,036.00      $567,036.00
Middlesex   2022                                                        $600,000.00      $600,000.00
Middlesex   2021                                                       $696,565.00       $696,565.00
Middlesex   2020        $959,860.00                                                      $959,860.00
Middlesex   2020                                                        $281,976.00      $281,976.00

Middlesex   2019                                                        $567,036.00      $567,036.00
Monmouth               $557,123.88        $0.00   $1,631,519.00      $18,621,335.19   $20,809,978.07
Monmouth                     $0.00        $0.00           $0.00       $1,171,315.00    $1,171,315.00
Monmouth                     $0.00        $0.00    $352,849.27       $16,887,045.00   $17,239,894.27
Monmouth               $557,123.88        $0.00   $1,269,982.23               $0.00    $1,827,106.11
Monmouth                     $0.00        $0.00       $8,687.50        $562,975.19      $571,662.69


Monmouth    2022                                                        $316,315.00      $316,315.00

Monmouth    2022                                                        $855,000.00      $855,000.00
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County     Year         CTCL            CARES        HAVA/CARES       OTHER              Total

Monmouth   2021                                        $245,311.29                       $245,311.29

Monmouth   2021                                        $107,537.98                       $107,537.98
Monmouth   2021                                                        $4,887,045.00    $4,887,045.00

Monmouth   2021                                                       $12,000,000.00   $12,000,000.00
Monmouth   2020        $238,767.38                                                       $238,767.38
Monmouth   2020        $159,178.25                                                       $159,178.25
Monmouth   2020        $159,178.25                                                       $159,178.25
Monmouth   2020                                        $457,507.13                       $457,507.13
Monmouth   2020                                        $812,475.10                       $812,475.10
Monmouth   2019                                                           $83,040.03      $83,040.03
Monmouth   2019                                                          $426,480.00     $426,480.00
Monmouth   2019                                                           $11,276.78      $11,276.78
Monmouth   2019                                                            $4,862.17       $4,862.17
Monmouth   2019                                                           $37,316.21      $37,316.21
Monmouth   2019                                           $8,687.50                         $8,687.50
Morris                $369,930.75    $1,054,537.00   $1,505,021.10     $3,673,346.26   $6,602,835.11
Morris                      $0.00            $0.00           $0.00             $0.00           $0.00
Morris                      $0.00            $0.00    $109,122.10      $3,673,346.26   $3,782,468.36
Morris                $369,930.75    $1,054,537.00   $1,355,109.00             $0.00   $2,779,576.75
Morris                      $0.00            $0.00      $40,790.00             $0.00      $40,790.00
Morris     2022

Morris     2021                                        $109,122.10                       $109,122.10

Morris     2021                                                        $3,634,800.00   $3,634,800.00
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County    Year         CTCL            CARES        HAVA/CARES       OTHER              Total
Morris    2021                                                          $38,546.26       $38,546.26


Morris    2020       $369,930.75                                                       $369,930.75
Morris    2020                         $1,054,537                                     $1,054,537.00
Morris    2020                                         $1,355,109                     $1,355,109.00


Morris    2019                                         $40,790.00                        $40,790.00
Ocean                $450,404.00    $2,376,664.63   $1,175,992.08    $3,216,304.41    $7,219,365.12
Ocean                      $0.00            $0.00           $0.00            $0.00            $0.00
Ocean                      $0.00            $0.00           $0.00    $3,216,304.41    $3,216,304.41
Ocean                $450,404.00    $2,376,664.63   $1,175,992.08            $0.00    $4,003,060.71
Ocean                      $0.00            $0.00           $0.00            $0.00            $0.00
Ocean     2022                                                                                $0.00
Ocean     2021                                                        $1,027,479.98   $1,027,479.98
Ocean     2021                                                        $2,101,770.93   $2,101,770.93

Ocean     2021                                                           $87,053.50     $87,053.50
Ocean     2020       $150,135.00                                                       $150,135.00
Ocean     2020       $300,269.00                                                       $300,269.00
Ocean     2020                      $2,376,664.63                                     $2,376,664.63
Ocean     2020                                       $1,175,992.08                    $1,175,992.08
Ocean     2019                                                                                $0.00
Passaic             $3,203,500.00    $826,210.00       $99,323.75    $1,524,091.00    $5,653,124.75
Passaic                     $0.00          $0.00            $0.00            $0.00            $0.00
Passaic                     $0.00          $0.00       $99,323.75    $1,250,000.00    $1,349,323.75
Passaic             $3,203,500.00    $826,210.00            $0.00            $0.00    $4,029,710.00
Passaic                     $0.00          $0.00            $0.00     $274,091.00      $274,091.00

Passaic   2022                                                                               $0.00
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County    Year         CTCL          CARES        HAVA/CARES        OTHER              Total

Passaic   2021                                                      $1,250,000.00    $1,250,000.00



Passaic   2021                                       $99,323.75                        $99,323.75

Passaic   2020      $3,203,500.00                                                    $3,203,500.00

Passaic   2020                      $826,210.00                                       $826,210.00


Passaic   2020


Passaic   2019                                                        $274,091.00      $274,091.00
Salem                 $67,683.00          $0.00      $51,216.08     $1,567,703.60    $1,686,602.68
Salem                      $0.00          $0.00           $0.00             $0.00            $0.00
Salem                      $0.00          $0.00           $0.00     $1,500,000.00    $1,500,000.00
Salem                 $67,683.00          $0.00           $0.00             $0.00      $67,683.00
Salem                      $0.00          $0.00      $51,216.08        $67,703.60     $118,919.68
Salem     2022                                                                                 $0.00


Salem     2021                                                       $1,500,000.00   $1,500,000.00


Salem     2021

Salem     2020         $38,676.00                                                       $38,676.00

Salem     2020         $29,007.00                                                       $29,007.00
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County     Year         CTCL         CARES       HAVA/CARES          OTHER              Total
Salem      2020
Salem      2020
Salem      2020
Salem      2020



Salem      2019                                     $51,216.08                           $51,216.08

Salem      2019                                                              $16.10             $16.10

Salem      2019                                                          $67,687.50      $67,687.50
Somerset               $296,384.00       $0.00     $164,663.29        $1,789,685.66   $2,160,158.06
Somerset                     $0.00       $0.00           $0.00         $200,000.00     $200,000.00
Somerset                     $0.00       $0.00           $0.00         $218,853.61     $218,853.61
Somerset               $296,384.00       $0.00      $90,574.89        $1,155,955.55   $1,452,339.55
Somerset                     $0.00       $0.00      $74,088.40         $214,876.50     $288,964.90
Somerset   2022                                                        $200,000.00     $200,000.00

Somerset   2021                                                        $218,853.61     $218,853.61


Somerset   2020         $27,500.00                                                      $27,500.00

Somerset   2020        $134,442.00                                                     $134,442.00

Somerset   2020        $134,442.00                                                     $134,442.00


Somerset   2020                                                      $1,127,518.05    $1,127,518.05


Somerset   2020                                                         $28,437.50      $28,437.50
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County     Year         CTCL          CARES        HAVA/CARES        OTHER              Total

Somerset   2020                                       $90,574.89
Somerset   2019                                                        $214,876.50     $214,876.50

Somerset   2019                                       $50,000.00                        $50,000.00

Somerset   2019                                        $24,088.40                        $24,088.40
Sussex                $116,025.00    $317,528.42     $153,341.88     $1,511,033.72    $2,097,929.02
Sussex                      $0.00          $0.00           $0.00             $0.00            $0.00
Sussex                      $0.00          $0.00           $0.00     $1,511,033.72    $1,511,033.72
Sussex                $116,025.00    $317,528.42     $153,341.88             $0.00     $586,895.30
Sussex                      $0.00          $0.00           $0.00             $0.00            $0.00
Sussex     2022                                                                               $0.00


Sussex     2021                                                         $11,033.72      $11,033.72

Sussex     2021                                                      $1,500,000.00    $1,500,000.00


Sussex     2020                      $317,528.42                                       $317,528.42

Sussex     2020        $49,725.00                                                       $49,725.00

Sussex     2020        $66,300.00                                                       $66,300.00

Sussex     2020                                      $119,254.60                       $119,254.60

Sussex     2020                                       $34,087.28                        $34,087.28

Sussex     2019                                                                               $0.00
Union                $1,444,750.00    $74,988.00   $2,933,484.24     $7,277,128.38   $11,489,711.62
Union                        $0.00         $0.00           $0.00     $1,310,414.22    $1,310,414.22
Union                        $0.00    $74,988.00   $1,607,034.00     $5,220,008.22    $6,902,030.22
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County   Year          CTCL        CARES        HAVA/CARES         OTHER              Total
Union              $1,444,750.00       $0.00     $1,078,032.51             $0.00    $2,522,782.51
Union                      $0.00       $0.00      $248,417.73        $746,705.94     $754,484.67

Union    2022                                                        $127,374.04     $127,374.04

Union    2022                                                       $1,183,040.18   $1,183,040.18
Union    2021                      $74,988.00                                         $74,988.00

Union    2021                                     $283,929.82                        $283,929.82
Union    2021                                    $1,167,861.27                      $1,167,861.27


Union    2021                                      $19,379.20                         $19,379.20

Union    2021                                      $45,376.00                         $45,376.00

Union    2021                                       $90,487.71                        $90,487.71
Union    2021                                                        $278,045.70     $278,045.70

Union    2021                                                        $197,000.00     $197,000.00
Union    2021                                                        $147,126.00     $147,126.00
Union    2021                                                      $1,147,169.95    $1,147,169.95

Union    2021                                                       $3,378,685.00   $3,378,685.00

Union    2021                                                          $5,398.65       $5,398.65


Union    2021                                                         $55,123.96      $55,123.96


Union    2021                                                         $11,458.96      $11,458.96
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County   Year         CTCL          CARES        HAVA/CARES        OTHER             Total

Union    2020        $308,750.00                                                     $308,750.00

Union    2020      $1,136,000.00                                                   $1,136,000.00
Union    2020                                      $202,128.91                      $202,128.91

Union    2020                                      $872,514.24                       $872,514.24

Union    2020                                        $3,389.36                         $3,389.36
Union    2019                                                        $101,131.35     $101,131.35


Union    2019                                                        $404,935.59     $404,935.59
Union    2019                                       $29,225.00                        $29,225.00

Union    2019                                        $3,780.24                         $3,780.24

Union    2019                                       $27,274.99                        $27,274.99

Union    2019                                        $1,950.01                         $1,950.01

Union    2019                                        $3,780.20                         $3,780.20

Union    2019                                      $104,419.40                       $104,419.40

Union    2019                                        $2,716.00                         $2,716.00

Union    2019                                                        $240,639.00

Union    2019                                        67,278.00                        $67,278.00

Union    2019                                        $7,993.89                         $7,993.89
Warren               $72,085.50    $244,533.38     $144,155.30       $490,272.67     $951,046.85
Warren                    $0.00          $0.00           $0.00       $170,000.00     $170,000.00
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County   Year         CTCL         CARES        HAVA/CARES         OTHER             Total
Warren                    $0.00     $8,625.00      $10,000.00        $176,079.89     $194,704.89
Warren               $72,085.50   $235,908.38     $134,155.30         $12,580.39     $454,729.57
Warren                    $0.00         $0.00           $0.00        $131,612.39     $131,612.39

Warren   2022                                                        $130,000.00     $130,000.00

Warren   2022                                                         $40,000.00      $40,000.00

Warren   2021                                                        $176,079.89     $176,079.89


Warren   2021                       $8,625.00                                          $8,625.00

Warren   2021                                      $10,000.00                         $10,000.00


Warren   2020        $36,042.75                                                       $36,042.75
Warren   2020        $36,042.75                                                       $36,042.75
Warren   2020                     $235,908.38                                        $235,908.38

Warren   2020                                     $134,155.30                        $134,155.30

Warren   2020                                                          $12,580.39     $12,580.39

Warren   2019                                                         $131,612.39    $131,612.39
